

Matter of Cameron (2018 NY Slip Op 00880)





Matter of Cameron


2018 NY Slip Op 00880


Decided on February 8, 2018


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 8, 2018


[*1]In the Matter of ROBERT JOHN CAMERON, an Attorney. 
(Attorney Registration No. 3031531)

Calendar Date: February 5, 2018

Before: Lynch, J.P., Devine, Clark, Rumsey and Pritzker, JJ.


Robert John Cameron, Toronto, Canada, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



MEMORANDUM AND ORDER
Robert John Cameron was admitted to practice by this Court in 2000 and lists a business address in Toronto, Canada with the Office of Court Administration. Cameron now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Cameron's application.
Upon reading Cameron's affidavit sworn to November 30, 2017 and filed December 15, 2017, and upon reading the January 30, 2018 correspondence in response by the Chief Attorney for AGC, and having determined that Cameron is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Lynch, J.P., Devine, Clark, Rumsey and Pritzker, JJ., concur.
ORDERED that Robert John Cameron's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Robert John Cameron's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Robert John Cameron is commanded to desist and refrain from the [*2]practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Cameron is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Robert John Cameron shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








